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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Clara McAllister                               )
                                               )       Case No. 24-cv-1848
v.                                             )
                                               )       Judge: Hon. John Robert Blakey
THE PARTNERSHIPS and                           )
UNINCORPORATED ASSOCIATIONS                    )       Magistrate: Hon. Sunil R. Harjani
IDENTIFIED ON SCHEDULE “A”                     )
                                               )


                                        Voluntary Dismissal


       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for Plaintiff hereby notify this Court that the Plaintiff, Jen Elliott, voluntarily dismiss any

and all claims against the following Defendants, without prejudice:

 Doe Store                     Merchant ID
 66  Tiwabb Store              A2BNVQ3WHFRRZM
 61  SVKDR                     AAZWJXKR4105


Dated: April 25, 2024                          Respectfully submitted,

                                               By:      s/David Gulbransen/
                                                       David Gulbransen
                                                       Attorney of Record

                                                       David Gulbransen (#6296646)
                                                       Law Office of David Gulbransen
                                                       805 Lake Street, Suite 172
                                                       Oak Park, IL 60302
                                                       (312) 361-0825 p.
                                                       (312) 873-4377 f.
                                                       david@gulbransenlaw.com
